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                                                                                   Lonoke County Circuit Court
                                                                                  Deborah Oglesby, Circuit Clerk
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                                                                                      43CV-22-386
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                   In the Circuit Court of Lonoke County, Arkansas
                                     Civil Division

STEVEN CHAMBERS                                                               PLAINTIFF

       v.                     Case No. 43CV-22- - - - -

AMAZON.COM SERVICES LLC                                                     DEFENDANT

                                        Complaint



       1.      Plaintiff Steven Chambers ("Plaintiff'') brings this action seeking

injunctive and declaratory relief curtailing unlawful business practices related to

consumer warranties for products sold by Defendant Amazon.com Services LLC

("Amazon" or "Defendant").

       2.      Under the Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301-2312

("Magnuson-Moss," the "Act," or "MMWA"), and its implementing regulations 16

CFR §§ 700.1, et seq., retailers-like Defendant-must provide consumers with access to

any written warranty for a product costing more than $15, prior to the point of sale.

       3.      The purpose of Magnuson-Moss's "Pre-Sale Availability Rule" is to ensure

that consumers could get complete information about warranty terms and conditions. By

providing consumers with a way ofleaming what warranty coverage is offered on a product

before they buy, the Rule gives consumers a way to know what to expect if something goes

wrong, and thus helps to increase customer satisfaction. Congress also wanted to ensure

that consumers could compare warranty coverage before buying. By comparing, consumers

can choose a product with the best combination of price, features, and warranty coverage

to meet their individual needs. Thus, the Pre-Sale Availability Rule promotes competition



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on the basis of warranty coverage. By assuring that consumers can get warranty

information, the Rule encourages sales promotion on the basis of warranty coverage and

competition among companies to meet consumer preferences through various levels of

warranty coverage.

       4.      To comply with Magnuson-Moss's Pre-Sale Availability Rule, a retailer

must make the terms of a product's written warranty "readily available for examination by

the prospective buyer" by either (1) displaying the warranty "in close proximity" to the

product or (2) placing signs in prominent locations alerting the consumer that he or she

may inspect product warranties upon request. This obligation extends to any product with

a written warranty that costs more than $15. 16 C.F.R. § 702.3.

       5.      Despite these obligations under federal law, Defendant does not provide

consumers with access to written warranties, prior to sale, in a manner that complies with

the Pre-Sale Availability Rule.

       6.      Defendant's noncompliance has a self-serving motive: Defendant offers its

own "protection plan" or extended warranty to consumers at the point of sale, which

provide coverage that is duplicative of the free manufacturer's warranty that already comes

with the product. If the consumer is not made aware of this warranty, or is prohibited from

learning of the warranty's specific terms until after the point of sale, then he or she is more

likely to buy Defendant's duplicative "protection plan."

       7.      Plaintiff, individually and on behalf of all other similarly situated Arkansans,

seeks injunctive and declaratory relief against Defendant for its violations of Magnuson-

Moss. Specifically, Plaintiff seeks to require Defendant to provide Arkansas consumers




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with pre-sale access to product warranties. As required by the Pre-Sale Availability Rule of

Magnuson-Moss.

                                         PARTIES

       8.      Plaintiff Steven Chambers is a resident of Lonoke County, Arkansas. On

or about December 2021, Plaintiff purchased air purifiers manufactured by Bissell (the

"Products") from Defendant, which cost most than $15 and was subject to a warranty

from the product's manufacturer. In the course of purchasing these Products, Defendant

did not make the Products' warranties available to Plaintiff, or alert Plaintiff to the option

of reviewing the Products' warranties, prior to the point of sale in a manner compliant with

the Pre-Sale Availability Rule.

       9.      Defendant Amazon 1s           a retailer headquartered in Washington.

Defendant primarily offers consumer goods, including goods over $15 that are subject to

manufacturer's warranties.

                             JURISDICTION AND VENUE

       10.     Substantial acts giving rise to the causes of action asserted herein occurred

in this State and within this venue.

       11.     Jurisdiction is proper in this Court because Plaintiff resides in Lonoke

County, Arkansas.

       12.     This Court has personal jurisdiction over Defendant because it purposefully

directs its conduct at Arkansas, transacts business in Arkansas, has substantial aggregate

contacts with Arkansas, engaged and is engaging in conduct that has and had a direct,




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substantial, reasonably foreseeable, and intended effect of causing injury to persons in

Arkansas, and purposely availed itself of the laws of Arkansas.

       13.       Defendant's activities in Arkansas gave rise to the claims identified herein,

both suffered by Plaintiff and by members of the proposed Class. Defendant operates in

Arkansas, selling products that are subject to the disclosure requirements of the Pre-Sale

Availability Rule, but not complying with the Requirements of the Rule.

       14.       In accordance with Ark. Code Ann. § 16-60-101, venue is proper in this

Circuit because a substantial part of the conduct giving rise to Plaintiff's claims occurred

in this Circuit, and Defendant transacts business in this Circuit.

                    EXCLUSIVE STATE COURT JURISDICTION
                        PURSUANT TO IS U.S.C. § 2310

       15.       Exclusive jurisdiction for this Action lies with this Court, pursuant to 15

u.s.c. § 2310.
       16.       Magnuson-Moss authorizes injured consumers to bring suit for "legal and

equitable relief... in any court of competent jurisdiction in any State." 15 U.S.C. §

2310(d)(l)(A).

       17.       However, the Act imposes specific limitations on the exercise of jurisdiction

by federal courts, stating that "no claim shall be cognizable" in federal district court "(A)

if the amount in controversy of any individual claim is less than the sum or value of $25;

(B) if the amount in controversy is less than the sum or value of $50,000 (exclusive of

interests and costs) computed on the basis of all claims to be determined in this suit; or (C)

if the action is brought as a class action, and the number of named plaintiffs is less than one

hundred." Id. § 2310(d)(3)(A)-(C).



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            18.       In this Action, Plaintiff solely seeks equitable and declaratory relief

individually and on behalf of all members of the Class, in the form of Defendant complying

with the Pre-Sale Availability Rule. Thus, neither Plaintiff nor any member of the putative

Class asserts an individual claim for damages at all, much less one valued at $25 or greater.

Neither of the requirements for federal jurisdiction set forth under § 2310{d){3)(A) or §

2310(d)(3)(B) is satisfied.

            19.      Further, Plaintiff Steven Chambers is the only named plaintiff in this action.

Because there are not one hundred named plaintiffs in this action, the requirement for

federal jurisdiction set forth under§ 2310{d){3)(C) is not satisfied.

            20.      Because none of the requirements for federal jurisdiction are satisfied under

§ 2310(d){3), this Court has exclusive jurisdiction over this Action.

                             COMMON FACTUAL ALLEGATIONS

       I.         Magnuson-Moss, the Pre-Sale Availability Rule, and Defendant's Non-
                  Compliance

            21.      Magnuson-Moss is a consumer-protection law passed in 1975 to clarify how

written warranties may be used when marketing products to consumers. 1 At its most

fundamental, a warranty is a promise by the warrantor to stand behind its product. It is a

statement about the integrity of the product and a commitment to correct problems if the

product fails. 2




1 15U.S.C. §§ 2301, et seq.
2FTC, "Businessperson's Guide to Federal Warranty Law" (available at
https:/ /www.ftc.gov/business-guidance/resources/businesspersons-guide-federal-
warranty-law)


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       22.     In passing Magnuson-Moss, Congress wanted to encourage sellers to

provide written warranties to assure consumers and to foster competition for the best

products. Although sellers are not required to provide written warranties, many consumers

will be skeptical of products that do not have one.

       23.     Magnuson-Moss creates multiple consumer protections related to

warranties, and most deal with the substance of the warranties, themselves (i.e., what a

warrantor must-and must not-include as a term or a representation). But Magnuson-

Moss also recognizes the need of consumers to have access to warranties when evaluating

whether or not to buy a given product, as the strength of the warranty is a meaningful data

point when considering a new purchase. Consumers have a right to choose a product with

the best combination of price, features, and warranty coverage to meet their individual

needs. AB Congressman Moss stated in support of the law:

               One of the most important effects of this bill will be its ability
               to relieve consumer frustration by promoting understanding
               and providing meaningful remedies. This bill should also
               foster intelligent consumer decisions by making warranties
               understandable. At the same time, warranty competition
               should be fostered since consumers would be able to judge
               accurately the content and differences between warranties
               and competing consumer products.

               Perhaps one of the potentially most important and long range
               effects of this bill resides in its attempt to assure better
               product reliability. The bill ... attempts to organize the rules
               of the warranty game in such a fashion to stimulate
               manufacturers, for competitive reasons, to produce more
               reliable products. This is accomplished using the rules of the
               marketplace by giving the consumer enough information and
               understanding about warranties so as to enable him to look




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              to the warranty duration of a guaranteed product as an
              indicator of the product reliability. 3

The Senate report accompanying the introduction of Magnuson-Moss further clarified the

need for and purpose of the law:

              When the use of a warranty in conjunction with the sale of a
              product first became commonplace, it was typically a
              concept that the contracting parties understood and
              bargained for, usually at arms length. One could decide
              whether or not to purchase a product with a warranty and
              bargain for that warranty accordingly. Since then, the
              relative bargaining power of those contracting for the
              purchase of consumer products has changed radically.
              Today, most consumers have little understanding of the
              frequently complex legal implications of warranties on
              consumer products. Typically, a consumer today cannot
              bargain with consumer product manufacturers or suppliers
              to obtain a warranty or to adjust the terms of a warranty
              voluntarily offered. Since almost all consumer products sold
              today are typically done so with a contract of adhesion, there
              is no bargaining power over contractual terms. [Magnuson-
              Moss] attempts to remedy some of the defects resulting from
              this gross inequality of bargaining power and return the sense
              of fair play to the warranty field that has been lost through
              the years as the organizational structure of our society has
              evolved. The warranty provisions of [Magnuson-Moss] are
              not only designed to make warranties understandable to
              consumers, but to redress the ill effects resulting from the
              imbalance which presently exists in the relative bargaining
              power of consumers and suppliers of consumer products. 4

       24.     Thus, Magnuson-Moss has the "Pre-Sale Availability Rule," which ensures

that consumers get complete information about warranty terms and conditions of a given




3Federal Register/Vol. 40, No. 251/60168
4Senate Comm. On Commerce, Report on S. 356, S. Rep. No. 93-151, 93d Cong., pt Sess.
(1973), at 6.



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product (of $15 or more), prior to purchase. 5 The Rule places distinct obligations both on

warrantors and retailers (like Defendant).

          25.    Most relevant to the instant litigation, pursuant to the Rule, a "seller" 6 of

any consumer product costing more than $15 and subject to a written warranty

                 shall make a text of the warranty readily available for
                 examination by the prospective buyer by:

                 (1) Displaying it in close proximity to the warranted
                 product (including through electronic or other means ... ),
                 or

                 (2) Furnishing it upon request prior to sale (including
                 through electronic or other means ... ) and placing signs
                 reasonably calculated to elicit the prospective buyer's
                 attention in prominent locations in the store or department
                 advising such prospective buyers of the availability of
                 warranties upon request. 7

          26.    While the Rule allows sellers to display or otherwise provide the text of a

warranty "through electronic ... means," the FTC has made clear that it is not enough for

the seller merely to refer a customer to a product manufacturer's website. In allowing for

the electronic presentment of warranty terms,

                 Congress's intention ... was not to disturb prospective
                 purchasers' ability to obtain the full warranty terms at the
                 point of sale, as envisioned by the Pre-Sale Availability Rule.
                 While consumers with electronic devices and Internet
                 connectivity may be able to review warranty terms at the
                 point of sale by visiting the Web site that contains the




5   See, 16 C.F.R. § 702.3.
6 Defined  as "any person who sells or offers for sale for purposes other than resale or use
in the ordinary course of the buyer's business any consumer product." 16 C.F.R. §
702.l(e).
7 16 C.F.R. § 702.3(a) ("Duties of seller").




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                 warranty terms, not all consumers have such devices and
                 Internet connectivity. 8

         27.     Thus, all retailers, including Defendant, are obligated to have a mechanism

by which the full terms of a product's written warranty can be viewed by a consumer-

without said consumer resorting to his or her own Internet-enabled device-prior to the

point of sale.

         28.     Defendant fails to satisfy this obligation.     Indeed, virtually all of the

products-if not every single product-sold on Defendant's platform are presented to the

consumer without any access to the product's warranty, pre-sale. Instead, the first time

the consumer is able to view the warranty is upon opening the product's packaging, after

purchase.

         29.     For example, Defendant sells Bissell products. If a customer searches for a

Bissell air purifier like those purchased by Plaintiff (either through Amazon's search feature

or through the URL prompt "Visit the Bissell Store" 9), and then clicks the page for a

specific Bissell air purifier, he or she will see the page advertising the air purifier, and will

be provided the opportunity to purchase the product, in addition to an extended warranty

sold through Asurion. E.&,:




8   Federal Register/Vol. 81, No.179/63666
9   The "Bissell" on Amazon is available at the following URL:
https://www.amaz1Jn.a,m/st«es/pagc/4DD42A06-E96A-4735-8BA3-7498330F4BSA



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                                                       Fig. 110



         30.          What the consumer will not be able to do, however, is find the terms of the

manufacturer's warranty for this $340 purchase. Instead, if a consumer scrolls down to the

"Product Information" portion of the webpage, and finds the section titled "Warranty &

Support," he or she is informed that "Manufacturer's warranty can be requested from

customer service. Click here to make a request to customer service."




 https://www.amazon.com/BISSELL-Purifier-Efficiency-Filters-
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Allergies/dp/B07XTX5RJJ?ref =ast sto dp&th=l
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Warranty & Support
 Manufacturer's warranty can be requested from customer service. Click here to make a request to customer
 service.



                                                   Fig. 211

            31.    When the customer clicks the link to make a request to customer service, he

or she receives this message: "If you'd like a copy of the manufacturer's warranty for a

product found on Amazon.com, you can contact the manufacturer directly or visit their

website for more information. Manufacturer's warranties may not apply in all cases,

depending on factors like the use of the product, where the product was purchased, or who

you purchased the product from. Please review the warranty carefully, and contact the

manufacturer if you have any questions."


     Ordering , Safety Information, Recalls, and Legal Notices >

     About Manufacturer's Warranties

     If you'd like a copy of the manufacturer's warranty for a product found on Amazon.com, you
     can contact the manufacturer directly or visit their website for more information.
     Manufacturer's warranties may not apply in all cases, depending on factors like the use of the
     product, where the product was purchased, or who you purchased the product from. Please
     review the warranty carefully, and contact the manufacturer if you have any questions.


                                                    Fig. 312

            32.    Thus, Amazon misleads customers when it states that warranties "can be

requested from customer service" and further violates Magnuson Moss by referring




11 Jd.
12 https://www.amazon.com/gp/help/customer/display.htmVref=help search 1-
1?nodeld=201596310


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consumers to the manufacturer's website. The ITC makes clear that this does not comply

with Magnuson Moss's Pre-Sale Availability Rule, which instead requires online sellers to

make the full text of a warranty available on their own website. 13

     II.         The Rise of" Add On" Warranties Offered by Retailers Like Defendant

           33.      There is a financial incentive for Defendant's failure to provide consumers

with product warranties. Defendant, like many other retailers, makes a significant amount

of money by selling consumers "protection plans," or "extended warranties" for their

products.

           34.      These plans are big business-according to a recent report, the global

extended warranty industry generated $120.79 billion in 2019, and is projected to reach

$169.82 billion by 2027, growing at a compound annual growth rate of 7.4% from 2020-

2027.14

           35.      However, these plans are also largely unnecessary, as they provide coverage

that is duplicative of the given product's existing warranty, at least for the life of the

manufacturer's warranty .15




13Federal RegisterNol. 81, No. 179/63665, n. 14 ("The requirement to make warranties
available at the point of purchase can be accomplished easily with respect to online sales
by, for example, using a clearly-labeled hyperlink, in close proximity to the description of
the warranted product, such as 'get warranty information here' to lead to the full text of
the warranty, and presenting the warranty in a way that it can be preserved, either by
downloading or printing, so consumers can refer to it after purchase.")
14 Yahoo, "Extended Warranty Market to Reach $169.82 Bn, Globally, by 2027 at 7.41 CAGR: Allied
Market Research" Oan. 24, 2022) (available at https://www.yahoo.com/now/extended-warranty-market-
reach-169-083000210.html?guccounter=l).
15 Beth Braverman, "Why You Should Steer Clear of Extended Warranties," Consumer Reports (Dec. 22,

2018) (available at https:/ /www.consumerreports.org/extended-warranties/steer-clear-ext:ended-
warranties-a3095935951D ("Two-thirds of in-store electronic shoppers and nearly three-quarters of
appliance purchasers say that an associate has pitched one to them.")



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           36.     At present, Defendant partners with Asurion to offer protection plans to

    consumers, and thus is disincentivized from alerting consumers to the warranty that

    already comes with their product free of charge. This makes Defendant's violation of the

    Pre-Sale Availability Rule all the more egregious.

                          PLAINTIFF'S SPECIFIC ALLEGATIONS

           37.     Throughout the last several years, Plaintiff purchased products on

    Defendant's platform. During this period, Plaintiff purchased at least one product costing

    more than $15 that was subject to a manufacturer's warranty.

           38.     One example of such purchases were the Products, which Plaintiff

•   purchased from Defendant in December 2021 for more than $15.

           39.     In the course of purchasing said Products, Defendant did not display

    product warranties in close proximity to the Products-indeed, consistent with the

    description in paragraphs 29-32,          supra,   Defendant did not display any warranty

    information.

            40.    Accordingly, Plaintiff was unable to access any warranty associated with the

    Products until after the point of sale.

            41.     Plaintiff cares about the substance of product warranties, and the terms of a

    written warranty would impact Plaintiff's purchasing decisions - i.e., one product might be

    chosen over another if that product had a more expansive warranty.

            42.    Further, Plaintiff anticipates buying new products costing over $15 that are

    subject to manufacturer warranties in the future, and would consider purchasing said




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products from Defendant, but does not wish to have his rights under Magnuson-Moss

thwarted by Defendant's failure to comply with the Pre-Sale Availability Rule.

                                 CLASS ALLEGATIONS
       43.     Plaintiff seeks class certification of the class set forth herein pursuant to

Arkansas Rule of Civil Procedure 23. This action satisfies the numerosity, commonality,

typicality, adequacy, predominance, and superiority requirements of Rule 23(a) and (b).

       44.     Plaintiff seeks certification of a Class defined as follows:

               All citizens of Arkansas who purchased one or more
               products from Defendant that cost over $15 and that were
               subject to a written warranty.

       45.     Plaintiff reserves the right to modify or refine the Class definition based

upon discovery of new information or in order to accommodate any concerns of the Court.

       46.     Excluded from the Class are Defendant, and Defendant's parents,

subsidiaries, affiliates, officers and directors, any entity in which any defendant has a

controlling interest, governmental entities, and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members, and members of the staffs of the

judges to whom this case may be assigned.

       47.     Numerosity. The Class is so numerous that joinder of individual members

herein is impracticable. The exact number of Class members, as herein identified and

described, is not known, but Plaintiff believes at least 36 Class members reside within the

State. Stephens Prod. Co. v. Mainer, 2019 Ark. 118, 5, 571 S.W.3d 905, 908 (2019)

(numerosity requirement satisfied for class consisting of36 individuals). Additionally, the

identity of Class members can be readily determined upon review of records maintained by

Defendant.
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       48.     Commonality. There are numerous questions of law and fact common to

the Class and those common questions predominate over any questions affecting only

individual Class members, including but not limited to the following:

                    i. Whether Defendant's acts and practices complained of herein

                          violate Magnuson-Moss; and

                   ii. the appropriate injunctive relief to ensure Defendant abides by the

                          Pre-Sale Availability Rule.

       49.     Typicality. Plaintiff's claims are typical of the claims of members of the

proposed Class because, among other things, Plaintiff and members of the Class sustained

similar injuries as a result of Defendant's uniform wrongful conduct and their legal claims

arise from the same events and wrongful conduct by Defendant.

       SO.     Adequacy. Plaintiff will fairly and adequately protect the interests of the

proposed Class. Plaintiff's interests do not conflict with the interests of Class members

and Plaintiff has retained counsel experienced in complex litigation to prosecute this case

on behalf of the Class.

       51.     Predominance & Superiority. In addition to satisfying the prerequisites of

Rule 23(a), Plaintiff satisfies the requirements for maintaining a class action under Rule

23(b). Common questions of law and fact predominate over any questions affecting only

individual Class members, and a class action is superior to individual litigation and all other

available methods for the fair and efficient adjudication of this controversy. The individual

relief injunctive and declaratory available to an individual plaintiff is insufficient to make

litigation addressing Defendant's conduct economically feasible in the absence of the class




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action procedure. Individualized litigation also presents a potential for inconsistent or

contradictory judgments, and increases the delay and expense presented by the complex

legal and factual issues of the case to all parties and the court system. By contrast, the class

action device presents far fewer management difficulties and provides the benefits of a

single adjudication, economy of scale, and comprehensive supervision by a single court.

        52.    Final Declaratory or Injunctive Relief.            Plaintiff also satisfies the

requirements for maintaining a class seeking declaratory and/ or injunctive relief.

Defendant has acted or refused to act on grounds that apply generally to the proposed

Class, making final declaratory or injunctive relief appropriate with respect to the proposed

Class as a whole.

                                  CAUSES OF ACTION

                             FIRST CAUSE OF ACTION
                    (Violation of the Magnuson-Moss Warranty Act,
                               15 U.S.C. §§ 2301, et seq.)

        53.     Plaintiff incorporates by reference the allegations contained in the

preceding paragraphs of this Complaint.

        54.     Plaintiff and Oass members are "consumers" as defined in MMWA, 15

u.s.c. § 2301(3).
        55.     Defendant is a "seller" as defined in MMWA, 16 C.F.R. § 702.l(e).

        56.     Defendant sells products with warranties that are "written warranties" as

definedinMMWA, 15 U.S.C. § 2301(6); 16 C.F.R. § 702.l(c).

        57.     Defendant sells products that are "consumer products," as defined in

MMWA, 15 U.S.C. § 2301(1); 16 C.F.R. § 702.l(b).




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          58.    Consistent with, inter alia, 16 C.F.R. § 702.3, as a seller ofconsumer products

with written warranties, for all products costing more than $15 Defendant must either display

product warranties in close proximity to the relevant product, or else place signs reasonably

calculated to elicit the prospective buyer's attention, in prominent locations, advising

consumers of the availability of warranties upon request. 16 C.F.R. § 702.3(a). In direct

violation of Magnuson-Moss's Pre-Sale Availability Rule, Defendant does neither of these

things.

          59.    Because Plaintiff and the Class members have purchased, would like to, and

are likely to purchase products from Defendant over $15, Plaintiff and Class members are

entitled to injunctive relief and corresponding declaratory relief.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

respectfully requests that this Court:

                 a.      Certify this case as a class action, appoint Plaintiff as Class
representative, and appoint Plaintiff's counsel to represent the Class;
                 b.      Find    that    Defendant's     actions,     as   described    herein,
constitute violations of Magnuson-Moss;
                 c.     Entered judgment against Defendant for all injunctive, declaratory,
and other equitable relief sought;
                 d.      Award all costs, including experts' fees, attorneys' fees, and the
costs of prosecuting this action; and
                 e.      Grant such other legal and equitable relief as the Court may deem
appropriate.




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Dated: June 24, 2022       Respectfully Submitted,
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                           DEMAND FOR,JURY TRIAL

     Plaintiff hereby demands a trial by jury of all issues so triable.

Dated: June 24, 2022                    Respectfully Submitted,
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